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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                      CONTINUANCE ORDER

       v.                                     Mag. No. 18-1535 (DEA)

JAKIR TAYLOR,
     a/k/a "Jak";
JEROME ROBERTS,
     a/k/a "Righteous";
DAVID ANTONIO,
     a/k/ a ''Papi,"
      a/k/ a "Victor Arias,"
     a/k/ a "Pop,;,
     a/k/ a "Santiago Ramirez";
OMAR COUNCIL,
     a/k/ a "Stacks,"
     a/k/a ''Y"O,"
     a/k/a "O,"
     a/k/ a ''Snow;
BRIAN PHELPS,
      a/k/a "B-Money,"
     a/k/a "B";
GARY AUSMORE,
     a/k/a '-'G";
DAVIAS TAYLOR,
     a/k/ a "Vicey,"
    a/k/a "Mitch";
ALONZO LEARY,
     a/k/ a "Buck,"
     a/k/ a ''J-Buck"
MAJOR ANDERSON,
     a/k/ a "Maj";
WAYNE K. BUSH;
TACQUES HALL,
     a/k/a "Buddha";
KAHLIL HAMPTON,
    a/k/a "Ruger";
BRANDON COUNCIL,
    a/k/a "BH";                                            RECEIVED
SHAQUEL ROCK,
    a/k/a "Shaq";                                              OCT 2 5 2018
DENNIS CHESTON, JR.,
                                                           AT 8:30               M
    a/k/a "Beans";                                         WILLIAM   r WALSH CLERK
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DONTE ELLIS,
     a/k/ a "Shalant";
TIMOTIIY WIMBUSH,
     a/k/a "'Young Money";
TAQUAN WILLIAMS;
JUBRIWEST;
MALIK BINGHAM,
     a/k/ a "Fresh";
DEAVON WARNER,
     a/k/a 'Tug";
JAQUAN WADE;
QUIANA WELCH,
     a/k/ a "KiKi";
KALEIB COX,
     a/k/ a "Lito";
VARLEE KOON; and
LATRICE WHARTON


      This matter having come before the Court oh the joint application of

Craig Carpenito, United States Attorney for the District ofNew Jersey

(by J. Brendan Day and l\lexander Ramey, Assistant United States Attorneys), and

defendant Kaleib Cox (by   {}ull/d fihtJJ-1/,, Esq.), for an order granting a
continuance of the proceedings in the above-captioned matter from th~ date of this

order thro1Jgh January 11, 2019, and the defendant being aware that he has the

right to have the matter S1Jbmitted to a grand jury within 30 days of the date of his

arrest pursuant to Title 18 of the United States Code, Section 3161(b), a!lQ. the

defendant through his attorney having consented to the continuance, and no prior

continuances having been granted by the Court; and for good and sufficient cause

shown,

      IT IS TifE FINDING OF IBIS COURr that this action should be continued for

the following reasons:

            1.    Plea negotiations may soon conimefice, and both the United States

                  and the defendant seek time to achieve a successful resolution of
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                 these negotiations, Which would render trial of this matter

                 unnecessary;

            2.   Defendant has consented to the aforernentioned continuance;

            3.   The grant of a continuance will likely conserve jt1dicial resources;

                 and

            4.   Pursuant to Title 18 of the United States Code, Section 316l(h)(7),

                 the ends of justice served by granting the continuance outweigh

                 the best interests of the public and the defendant in a speedy trial.

     WHEREFORE, it is on this 25th day of October, 2018,

      ORDERED that the proceedings scheduled in the above-captioned matter are

continued from the date of this Order through and including January 11, 2019;

      IT IS FURTUER ORJ)ERED that the period from the date of this Order

through and including January l l, 2019 shall be excludable in computing time

under the Speedy Trial Act of 1974.




                                           HONORABLE O        LAS E. ARPERT
                                           UNl'J'ED ST~-L~HY11\G1STRATE JUDGE
Consented and Agreed By:




 ~f:/J!L.
Counsel for Defendant




     eil.dan Day
  :x:ander ~ey
  sistant United States Attorneys
